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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

  GUILLERMO MARTI and FELICIA MARTI
  JT TEN, derivatively on behalf of CASSAVA
  SCIENCES, INC.,                                    Case No.: 1:24-cv-02223

         Plaintiff,

         v.
                                                     DEMAND FOR JURY TRIAL
  REMI BARBIER, ERIC J. SCHOEN,
  RICHARD J. BARRY, ROBERT Z. GUSSIN,
  MICHAEL J. O’DONNELL, SANFORD R.
  ROBERTSON, and PATRICK J. SCANNON,

         Defendants,

         and

  CASSAVA SCIENCES, INC.,

         Nominal Defendant.


                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

                                      INTRODUCTION

       Plaintiffs Guillermo Marti and Felicia Marti JT Ten (“Plaintiffs”), by Plaintiffs’

undersigned attorneys, derivatively and on behalf of Nominal Defendant Cassava Sciences, Inc.

(“Cassava” or the “Company”), file this Verified Shareholder Derivative Complaint against

Defendants Remi Barbier (“Barbier”), Eric J. Schoen (“Schoen”), Richard J. Barry (“Barry”),

Robert Z. Gussin (“Gussin”), Michael J. O’Donnell (“O’Donnell”), Sanford R. Robertson

(“Robertson”), and Patrick J. Scannon (“Scannon”) (collectively, the “Individual Defendants” and

with Cassava, “Defendants”) for breaches of their fiduciary duties as directors and/or officers of

Cassava, unjust enrichment, abuse of control, gross mismanagement, waste of corporate assets,

violations of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and for




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contribution against Defendants Barbier and Schoen under 10(b) and 21D of the Exchange Act.

As for Plaintiffs’ complaint against the Individual Defendants, Plaintiffs allege the following based

upon personal knowledge as to Plaintiffs and Plaintiffs’ own acts, and information and belief as to

all other matters, based upon, inter alia, the investigation conducted by and through Plaintiffs’

attorneys, which included, among other things, a review of the Defendants’ public documents,

conference calls and announcements made by Defendants, United States Securities and Exchange

Commission (“SEC”) filings, wire and press releases published by and regarding Cassava, legal

filings, news reports, securities analysts’ reports and advisories about the Company, and

information readily obtainable on the Internet. Plaintiffs believe that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by Cassava’s directors and officers from August 18, 2022 and October 12, 2023, both dates

inclusive (the “Relevant Period”).

       2.      Cassava is a Delaware biotechnology corporation based in Austin, Texas, which

develops drugs for neurodegenerative diseases. Its lead therapeutic product candidate is

“simufilam” which is a treatment for Alzheimer’s disease. Its lead investigational diagnostic

product is “SavaDx,” a blood-based diagnostic test to detect Alzheimer’s. Simufilam is designed

to target a protein in the brain, filamin A (“FLNA”), and reverts it to a healthy conformation,

combatting the effects of altered FLNA.

       3.      The Company represents that it measures simufilam’s effectiveness in restoring

brain health by looking at cerebrospinal fluid (“CSF”) biomarkers. A biomarker is a measurable

indicator used to determine whether a patient is impacted by a specific condition. To analyze CSF

biomarkers, Cassava scientists would measure CSF levels before and after a patient took



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simufilam, with the expectation that, upon taking simufilam, the affected individual’s CSF levels

would decrease to a level indicative of a patient without Alzheimer’s disease. Cassava began

testing simufilam’s effects on CSF biomarkers as early as March 2020, when the Company began

a long-term open-label study.

        4.      While the Company has big expectations for simufilam, it currently has no source

of revenue, and therefore Cassava’s overall financial success depends largely on successfully

receiving regulatory approval for its lead product candidates in order to get them to market.

        5.      Beginning in 2021, criticism regarding Cassava’s research methods began to arise.

In August 2021, a Citizen Petition was filed with the U.S. Food and Drug Administration (“FDA”)

requesting that phase 3 trials of simufilam be paused because of data manipulation. The Citizen

Petition referenced “grave concerns about the quality and integrity of the laboratory-based studies

surrounding this drug candidate and supporting the claims for its efficacy.”

        6.      In particular, the criticism was geared towards the method of Cassava’s principal

scientific advisor, Dr. Hoau-Yan Wang (“Dr. Wang”) of City University of New York (“CUNY”)

Medical School. Dr. Wang has worked alongside Cassava scientists for fifteen years.

        7.      The Company, however, denied the allegations and stood behind Dr. Wang’s

research and the effectiveness of simufilam. Cassava stated in a press release published shortly

after the FDA received the Citizen Petition, “The Company stands behind its science, its scientists

and its scientific collaborators.”

        8.      Beginning August 18, 2022, and throughout the Relevant Period, the Individual

Defendants caused the Company to make materially false and misleading statements to the

investing public concerning the accuracy and reliability of data the Company was holding out as




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demonstrating simufilam’s efficacy. In particular, the Company continued to defend its scientific

data against growing criticism that its data was the result of severe scientific misconduct.

       9.       On August 18, 2022, the Company issued a press release entitled “No Evidence of

Data Manipulation in Science Publication on Simufilam” touting that “allegations of research

misconduct are false” and that hopefully the “written pronouncements from neutral and

independent science experts will help close the chapter of baseless attacks against out science.”

       10.      The Company continued to make similar statements to this one throughout the

Relevant Period defending the research methods of Dr. Wang and the evidence supporting

simufilam.

       11.      The truth emerged on October 12, 2023, when Science, a peer-reviewed academic

journal, published an article entitled “Co-developer of Cassava’s Potential Alzheimer’s Drug Cited

for ‘Egregious Misconduct’” (the “Article”) revealing that CUNY Medical School had found

evidence that Dr. Wang engaged in “deliberate scientific misconduct” involving 20 research

papers. One such paper was a 2012 paper Dr. Wang published in The Journal of Neuroscience.

This research paper, and others among the 20-such research papers, were foundational to Cassava

receiving federal funding for developing simufilam and touting to the public the potential benefits

of simufilam.

       12.      The Article revealed that while CUNY requested the “original raw data” of Dr.

Wang’s research, Dr. Wang’s research misconduct was so egregious he could not “turn over to the

panel ‘even a single datum or notebook in response to any allegations[.]”

       13.      On this news, the Company’s stock price fell from $17.34 per share at the close of

trading on October 12, 2023 to $14.86 per share at the close of trading on October 13, 2023,

representing a $2.68 decline per share, or 15.28%.




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       14.     During the Relevant Period, the Individual Defendants breached their fiduciary

duties by personally making and/or causing the Company to make to the investing public a series

of materially false and misleading statements regarding the Company’s business, operations, and

prospects. Specifically, the Individual Defendants willfully or recklessly made and/or caused the

Company to make false and misleading statements that failed to disclose, inter alia, that: (1) the

Company failed to maintain adequate and effective data management controls and procedures for

its drug research programs; (2) the Company’s data control failures made the data that supported

simufilam’s efficacy susceptible to manipulation and had overstated the effectiveness of the drug;

(3) as a result of manipulated data, the Company had misrepresented to the investing public the

efficacy of its simufilam trials and the clinical and/or commercial prospects of simufilam; (4) the

Company was subjected to heightened risks as a result of the substantial financial and reputational

harm that would result from the foregoing being revealed; (5) the Company failed to maintain

adequate internal controls; and (6) as a result, the Company’s public statements were materially

false and misleading at all times.

       15.     To make matters worse, during the Relevant Period the Individual Defendants

solicited a proxy statement via Schedule 14A that was filed with the SEC on March 27, 2023 (the

“2023 Proxy Statement”). The 2023 Proxy Statement solicited shareholders to: (1) re-elect

Defendant Barry and Defendant Gussin to the Board; (2) approve an amendment to the Company’s

amended and restated certificate of incorporation to limit the liability of certain officers of the

Company; (3) approve the Non-employee Director Compensation Program; (4) approve Ernst &

Young (“EY”) as the Company’s independent registered public accounting firm for the fiscal year

ending on December 31, 2023 (the “2023 Fiscal Year”); (5) approve, via non-binding advisory

vote, the 2022 executive compensation of named executive officers; and (6) approve, via non-




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binding advisory vote, the frequency of non-binding advisory votes on the executive compensation

of the Company’s named executive officers. All six solicitations were approved by shareholders

according to a Form 8-K the Company filed with the SEC on May 8, 2023.

       16.     As a direct result of the materially false and misleading elements in the 2023 Proxy

Statement, the Individual Defendants materially benefited from the passing of the Non-Employee

Director Compensation Program (the “Compensation Program”). The Compensation Program

entitled the non-employee Director Individual Defendants to the following: (1) a $10,000 annual

retainer; (2) an initial nonqualified stock option grant for the right to purchase 20,000 shares of the

Company’s common stock; (3) an annual nonqualified stock option grant at the annual stockholder

2024 and 2025 meetings for the right to purchase 5,000 shares of Company’s common stock; and

(4) an additional nonqualified stock option grant on the data of the Annual Meeting for the right

to purchase 2,500 shares of the Company’s common stock for service on one committee or 5,000

shares of the Company’s common stock for service on two or more committees. Thus, the 2023

Proxy Statement provided a material benefit to Defendants Barry, Gussin, O’Donnell, Robertson,

and Scannon, all of whom are entitled to the payments laid out in the Compensation Program.

       17.     If not for the false and misleading statements throughout the Relevant Period and

for the false and misleading elements in the 2023 Proxy Statement, Cassava shareholders would

not have voted to approve the Compensation Program. Accordingly, the Individual Defendants

materially benefited as a result of the scheme to cause the Company to make false and misleading

statements.

       18.     Moreover, the Individual Defendants breached their fiduciary duties by failing to

correct and/or causing the Company to fail to correct these false and misleading statements and

omissions of material fact. Additionally, in breach of their fiduciary duties, the Individual




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Defendants caused the Company to fail to maintain adequate internal controls.

        19.     In light of the Individual Defendants’ misconduct—which has subjected the

Company, its Chief Executive Officer (“CEO”), and its Chief Financial Officer (“CFO”) to a

federal securities fraud class action lawsuit pending in the United States District Court for the

Northern District of Illinois (the “Securities Class Action”), and which has further subjected the

Company to the need to undertake internal investigations, the need to implement adequate internal

controls, losses from the waste of corporate assets, and losses due to the unjust enrichment of

Individual Defendants who were improperly overcompensated by the Company and/or who

benefitted from the wrongdoing alleged herein—the Company will have to expend many millions

of dollars.

        20.     The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

        21.     In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, of the collective engagement in fraud and

misconduct by the Company’s directors, of the substantial likelihood of the directors’ liability in

this derivative action and of certain directors’ and officers’ liability in the Securities Class Action,

and of their not being disinterested and/or independent directors, a majority of the Company’s

Board of Directors (the “Board”) cannot consider a demand to commence litigation against

themselves on behalf of the Company with the requisite level of disinterestedness and

independence.

                                  JURISDICTION AND VENUE

        22.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ claims raise a federal question under Section 14(a) of the Exchange Act (15 U.S.C.




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§ 78n(a)(1)) and Rule 14a-9 of the Exchange Act (17 C.F.R. § 240.14a-9), Section 10(b) of the

Exchange Act (15 U.S.C. § 78j(b)), and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)).

Plaintiffs’ claims also raise a federal question pertaining to the claims made in the Securities Class

Action based on violations of the Exchange Act.

       23.     This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367(a).

       24.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       25.     Venue is proper in this District because the alleged misstatements and wrongs

complained of herein entered this District, the Defendants have conducted business in this District,

and Defendants’ actions have had an effect in this District. In addition, the Company’s principal

executive offices are located in this District.

                                              PARTIES

       Plaintiffs

       26.     Plaintiffs are current shareholders of Cassava. Plaintiffs have continuously held

Cassava common stock at all relevant times.

       Nominal Defendant Cassava

       27.     Cassava is a Delaware corporation with its principal executive offices at 6801 N.

Capital of Texas Highway, Building 1, Suite 300, Austin, Texas 78731. Cassava’s shares trade on

the Nasdaq Capital Market (“Nasdaq”) under the ticker symbol “SAVA.”

       Defendant Barbier

       28.     Defendant Barbier is the Company’s President, CEO, and Chairman of the Board,

and has served in all three roles since he founded the Company in May 1998. According to the

2023 Proxy Statement, as of March 16, 2023, Defendant Barbier beneficially owned 2,031,594



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shares of the Company’s common stock, representing 4.8% of the Company’s outstanding

common stock. Given that the price per share of the Company’s common stock at the close of

trading on March 16, 2023 was $26.75, Defendant Barbier owned approximately $54 million

worth of Cassava stock as of that date.

       29.      For the fiscal year ended December 31, 2022 (the “2022 Fiscal Year”), Defendant

Barbier received $1,114,998 in total compensation from the Company. This included $1.1 million

in salary and $14,998 in all other compensation.

       30.      The 2023 Proxy Statement stated the following about Defendant Barbier:

       Remi Barbier, the Company’s founder, has served as President, Chief Executive
       Officer and Chairman of the Board of Directors since the Company’s inception
       in May 1998. Prior to that time, Mr. Barbier helped in the growth or founding
       of Exelixis Inc., a publicly-traded drug development company, ArQule, Inc., a drug
       development company acquired by Merck & Co., and EnzyMed, Inc., a chemistry
       company acquired by Albany Molecular Research, Inc. Mr. Barbier is a trustee
       emeritus of the Carnegie Institute of Washington, the Santa Fe Institute and the
       Advisory Board of the University of California Institute for Quantitative
       Biosciences. He is on the board of BioVentures LLC, a life science incubator at the
       University of Arkansas for Medical Sciences. Mr. Barbier received his B.A. from
       Oberlin College and his M.B.A. from the University of Chicago.

       Defendant Schoen

       31.      Defendant Schoen has served as the Company’s CFO since October 2018.

According to the 2023 Proxy Statement, as of March 16, 2021, Defendant Schoen beneficially

owned 71,800 shares of the Company’s common stock. Given that the price per share of the

Company’s common stock at the close of trading on March 16, 2023 was $26.75, Defendant

Schoen owned approximately $1.9 million worth of Cassava stock as of that date.

       32.      For the 2022 Fiscal Year, Defendant Schoen received $425,000 in total

compensation from the Company. This included $425,000 in salary and $1,610 in all other

compensation.




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       33.    The 2023 Proxy Statement stated the following about Defendant Schoen:

       Eric Schoen has served as Chief Financial Officer since October 2018. Prior to
       joining the Company, Mr. Schoen served in numerous financial leadership roles.
       Most recently, he served as Vice President, Senior Vice President, Finance and
       Chief Accounting Officer of Aspira Women’s Health Inc. (formerly Vermillion,
       Inc.), a publicly-held women’s health company, from 2011 to 2017. Mr. Schoen
       also began his career and spent nine years with PricewaterhouseCoopers in the audit
       and assurance, transaction services and global capital markets practices. Mr.
       Schoen received his B.S. in Finance from Santa Clara University.

       Defendant Barry

       34.    Defendant Barry has served as a Company director since June 2021. He also serves

as the Chair of the Audit Committee and the Chair of the Nominating and Governance Committee.

According to the 2023 Proxy Statement, as of March 16, 2023, Defendant Barry beneficially

owned 275,000 shares of the Company’s common stock. Given that the price per share of the

Company’s common stock at the close of trading on March 16, 2023 was $26.75, Defendant Barry

owned approximately $7.3 million worth of Cassava stock as of that date.

       35.    The 2023 Proxy Statement stated the following about Defendant Barry:

       Richard J. Barry has served as a director since June 2021. Since June 2015, Mr.
       Barry has also served as a director of Sarepta Therapeutics, Inc., (Nasdaq: SRPT).
       Mr. Barry has extensive experience in the investment management business. He
       was a founding member of Eastbourne Capital Management LLC, and served as a
       Managing General Partner and Portfolio Manager from 1999 to its close in 2010.
       Prior to Eastbourne, Mr. Barry was a Portfolio Manager and Managing Director of
       Robertson Stephens Investment Management. Mr. Barry holds a Bachelor of Arts
       from Pennsylvania State University.

       Defendant Gussin

       36.    Defendant Gussin has served as a Company director since March 2003. He also

serves as a member of both the Audit Committee and Compensation Committee. According to the

2023 Proxy Statement, as of March 16, 2023, Defendant Gussin beneficially owned 142,537 shares

of the Company’s common stock. Given that the price per share of the Company’s common stock




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at the close of trading on March 16, 2023 was $26.75, Defendant Gussin owned approximately

$3.8 million worth of Cassava stock as of that date.

       37.     The 2023 Proxy Statement stated the following about Defendant Gussin:

       Robert Z. Gussin, Ph.D. has served as a director since March 2003. Dr. Gussin
       worked at Johnson & Johnson for 26 years, most recently as Chief Scientific Officer
       and Corporate Vice President, Science and Technology from 1986 through his
       retirement in 2000. Dr. Gussin served on the board of directors of Duquesne
       University and the advisory boards of the Duquesne University Pharmacy School
       and the University of Michigan Medical School Department of Pharmacology. Dr.
       Gussin received his B.S. and M.S. degrees and D.Sc. with honors from Duquesne
       University and his Ph.D. in Pharmacology from the University of Michigan, Ann
       Arbor.

       Defendant O’Donnell

       38.     Defendant O’Donnell has served as a Company director since June 1998.

According to the 2023 Proxy Statement, as of March 16, 2023, Defendant O’Donnell beneficially

owned 89,666 shares of Company common stock. Given that the price per share of the Company

common stock was $26.75 at the close of trading on March 16, 2023, Defendant O’Donnell owned

approximately $2.39 million worth of Cassava common stock as of that date.

       39.     The 2023 Proxy Statement stated the following about Defendant O’Donnell:

       Michael J. O’Donnell, Esq. has served as a director since June 1998. Mr.
       O’Donnell has been a partner in the law firm of Orrick, Herrington & Sutcliffe
       LLP since June 2021. Orrick, Herrington & Sutcliffe LLP is the Company’s
       corporate counsel and provides legal services to the Company. Previously, Mr.
       O’Donnell was a member of Morrison & Foerster LLP from 2011 to 2021. Mr.
       O’Donnell serves as corporate counsel to numerous public and private
       biopharmaceutical and life sciences companies. Previously, Mr. O’Donnell was a
       member of Wilson Sonsini Goodrich & Rosati. Mr. O’Donnell received his J.D.,
       cum laude, from Harvard University and his B.A. from Bucknell University,
       summa cum laude.

       Defendant Robertson

       40.     Defendant Robertson has served as a Company director since September 1998. He

serves as a member on each of the Audit Committee, the Compensation Committee, and the




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Nominating and Governance Committee. In addition, he serves as Lead Director. According to the

2023 Proxy Statement, as of March 16, 2023, Defendant Robertson beneficially owned 1,161,694

shares of Company common stock. Given that the price per share of the Company common stock

was $26.75 at the close of trading on March 16, 2023, Defendant Robertson owned approximately

$31 million worth of Cassava common stock as of that date.

       41.    The 2023 Proxy Statement stated the following about Defendant Robertson:

       Sanford R. Robertson has served as a director since September 1998. Mr.
       Robertson has been a partner of Francisco Partners, a technology buyout fund, since
       1999. Prior to founding Francisco Partners, Mr. Robertson was the founder and
       chairman of Robertson, Stephens & Company, a technology investment bank sold
       to BankBoston in 1998. Mr. Robertson is the lead director of Salesforce.com, a
       publicly-held provider of enterprise cloud computing applications. Mr. Robertson
       received his B.A. and M.B.A. degrees with distinction from the University of
       Michigan.

       Defendant Scannon

       42.    Defendant Scannon has served as a Company director since December 2007.

During the Relevant Period, he served on the Audit Committee. According to the 2023 Proxy

Statement, as of March 16, 2023, Defendant Scannon beneficially owned 92,955 shares of

Company common stock. Given that the price per share of the Company common stock was $26.75

at the close of trading on March 16, 2023, Defendant Scannon owned approximately $2.48 million

worth of Cassava common stock as of that date.

       43.    The 2023 Proxy Statement stated the following about Defendant Scannon:

       Patrick J. Scannon, M.D., Ph.D. has served as a director since December 2007. Dr.
       Scannon is one of the founders of XOMA. From 2006 to 2016, Dr. Scannon was
       Executive Vice President, Chief Biotechnology Officer of XOMA. From 1993 to
       2006, Dr. Scannon served as Chief Scientific and Medical Officer of XOMA. Dr.
       Scannon retired from XOMA and resigned from XOMA’s board of directors in
       2016. Dr. Scannon received his Ph.D. in organic chemistry from the University of
       California, Berkeley and his M.D. from the Medical College of Georgia.

              FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS




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       44.     By reason of their positions as officers, directors, and/or fiduciaries of Cassava and

because of their ability to control the business and corporate affairs of Cassava, the Individual

Defendants owed Cassava and its shareholders fiduciary obligations of trust, loyalty, good faith,

and due care, and were and are required to use their utmost ability to control and manage Cassava

in a fair, just, honest, and equitable manner. The Individual Defendants were and are required to

act in furtherance of the best interests of Cassava and its shareholders so as to benefit all

shareholders equally.

       45.     Each director and officer of the Company owes to Cassava and its shareholders the

fiduciary duty to exercise good faith and diligence in the administration of the Company and in

the use and preservation of its property and assets and the highest obligations of fair dealing.

       46.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Cassava, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein.

       47.     To discharge their duties, the officers and directors of Cassava were required to

exercise reasonable and prudent supervision over the management, policies, controls, and

operations of the Company.

       48.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

faith, and the exercise of due care and diligence in the management and administration of the

affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and officers of Cassava, the absence of good faith on

their part, or a reckless disregard for their duties to the Company and its shareholders that the




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Individual Defendants were aware or should have been aware posed a risk of serious injury to the

Company. The conduct of the Individual Defendants who were also the officers and directors of

the Company has been ratified by the remaining Individual Defendants who collectively comprised

a majority of Cassava’s Board at all relevant times.

       49.     As the senior executive officers and/or directors of a publicly-traded company

whose common stock was registered with the SEC pursuant to the Exchange Act and traded on the

Nasdaq, the Individual Defendants had a duty to prevent and not to effect the dissemination of

inaccurate and untruthful information with respect to the Company’s financial condition,

performance, growth, operations, financial statements, business, products, management, earnings,

internal controls, and present and future business prospects, including the dissemination of false

information regarding the Company’s business, prospects, and operations, and had a duty to cause

the Company to disclose in its regulatory filings with the SEC all those facts described in this

Complaint that it failed to disclose, so that the market price of the Company’s common stock

would be based upon truthful and accurate information. Further, they had a duty to ensure the

Company remained in compliance with all applicable laws.

       50.     To discharge their duties, the officers and directors of Cassava were required to

exercise reasonable and prudent supervision over the management, policies, practices, and internal

controls of the Company. By virtue of such duties, the officers and directors of Cassava were

required to, among other things:

               (a)    ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware, Texas, and the United States,

and pursuant to Cassava Sciences’ Code of Ethics (the “Code of Ethics”);




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               (b)     conduct the affairs of the Company in an efficient, business-like manner so

as to make it possible to provide the highest quality performance of its business, to avoid wasting

the Company’s assets, and to maximize the value of the Company’s stock;

               (c)     remain informed as to how Cassava conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;

               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of Cassava and procedures for the reporting of the business and

internal affairs to the Board and to periodically investigate, or cause independent investigation to

be made of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that Cassava’s operations would comply with all

applicable laws and Cassava’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate




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disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         51.   Each of the Individual Defendants further owed to Cassava and the shareholders

the duty of loyalty requiring that each favor Cassava’s interest and that of its shareholders over

their own while conducting the affairs of the Company and refrain from using their position,

influence, or knowledge of the affairs of the Company to gain personal advantage.

         52.   At all times relevant hereto, the Individual Defendants were the agents of each other

and of Cassava and were at all times acting within the course and scope of such agency.

         53.   Because of their advisory, executive, managerial, directorial, and controlling

positions with Cassava, each of the Individual Defendants had access to adverse, nonpublic

information about the Company.

         54.   The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by Cassava.

         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

         55.   In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and/or assisted each other in breaching their respective duties.

         56.   The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, waste of corporate

assets, gross mismanagement, abuse of control, and violations of the Exchange Act; (ii) conceal



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adverse information concerning the Company’s operations, financial condition, legal compliance,

future business prospects, and internal controls; and (iii) artificially inflate the Company’s stock

price.

         57.   The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully or recklessly to conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance

of this plan, conspiracy, and course of conduct, the Individual Defendants collectively and

individually took the actions set forth herein. Because the actions described herein occurred under

the authority of the Board, each of the Individual Defendants who is a director of Cassava was a

direct, necessary, and substantial participant in the conspiracy, common enterprise, and/or

common course of conduct complained of herein.

         58.   Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his overall contribution to and furtherance of the wrongdoing.

         59.   At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Cassava and was at all times acting within the

course and scope of such agency.

           CASSAVA’S CODE OF ETHICS AND CORPORATE GOVERNANCE

         Cassava’s Code of Ethics

         60.   Cassava’s Code of Ethics lists its purposes, which includes to:




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       • Promote honest and ethical conduct, including the ethical handling of actual or
       apparent conflicts of interest between personal and professional relationships;

       • Promote full, fair, accurate, timely and understandable disclosure in reports and
       documents that the Company files with, or submits to the U.S. Securities and
       Exchange Commission and in other public communications made by the Company;

       • Promote compliance with applicable governmental laws, rules and regulations;

       • Promote the prompt internal reporting of violations of the Code to appropriate
       persons of authority within the Company; and

       • Promote accountability for adherence to the Code.

       61.     Moreover, the Company’s Code of Ethics states that:

       All directors, officers and employees of the Company will:

               1.    Act with honesty and integrity, avoiding actual or apparent conflicts
       between personal and the interests of the Company, including refraining from
       receiving improper personal benefits as a result of holding a particular position with
       the Company;

                                 ⁎               ⁎               ⁎

              3.      Where applicable, provide the U.S. Securities and Exchange
       Commission (the “Commission”) and the public with complete, fair, accurate,
       timely and understandable disclosure in periodic reports and other documents filed
       or submitted to the Commission and in other public communications;

                4.     Endeavor to comply with applicable laws and regulations of federal,
       state, local and foreign governments and government agencies having jurisdiction
       over the Company, and with applicable regulations of private or self-regulatory
       authorities having jurisdiction over the Company;

              5.       Act in good faith, responsibly with due care and diligence and
       without misrepresentation or omission of material facts and strive to maintain
       independent judgment in the performance and fulfillment of their duties and
       responsibilities;

            6.        Promote ethical behavior among subordinates and peers at the
       Company[.]

       62.     Finally, with regard to reporting violations of the Code of Ethics itself, the Code of

Ethics further provides that: “It is the duty of each director, officer and employee of the Company




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to report violations of the Code promptly to the attention of the Company’s [CEO], [CFO], or to

any member of the Audit Committee of the Board[.]”

       Audit Committee Charter

       63.     The Company’s Audit Committee Charters states that among the Audit

Committee’s purposes “shall be to make such examinations as are necessary to monitor the

Company’s system of internal controls [and] to provide the Company’s Board of Directors with

the results of its examinations and recommendations derived therefrom[.]”

       64.     The Audit Committee Charter also describes the Audit Committee’s

responsibilities which include “[r]eviewing on a continuing basis the adequacy of the Company’s

system of internal controls” and “[r]eviewing, in conjunction with counsel, any legal matters that

could have a significant impact on the Company’s financial statements[.]”

       65.     The Individual Defendants violated the Code of Ethics by engaging in or permitting

the scheme to issue materially false and misleading statements to the public, including in the

Company’s SEC filings; by facilitating and disguising the Individual Defendants’ violations of

law, including breaches of fiduciary duty, waste of corporate assets, unjust enrichment, abuse of

control, gross mismanagement, and violations of the Exchange Act; and by failing to report the

same. Moreover, the Individual Defendants violated the Code of Ethics by failing to act with

honesty and integrity; failing to provide the SEC and public with complete, fair, accurate, timely,

and understandable disclosures; failing to comply with applicable laws and regulations; failing to

act in good faith, responsibly with due care and diligence and without misrepresentation or

omission of material facts; failing to promote ethical behavior at the Company; and failing to

promptly report violations of the Code of Ethics. Further in violation of the Audit Committee




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Charter, Defendants Barry, Gussin, and Sanford failed to adequately review the Company’s

internal controls as well as the Company’s SEC filings.

                    THE INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Background

       66.     Cassava is a biotechnology company that has a product portfolio including

simufilam, its lead therapeutic product candidate, and SavaDx, its lead investigational diagnostic

product candidate. Simufilam is an Alzheimer’s treatment, and SavaDx is a test to detect the

presence of Alzheimer’s before the appearance of clinical symptoms.

       67.     One of the Company’s much larger competitors, Biogen Inc. (“Biogen”), recently

received FDA approval for its Alzheimer’s treatment, Aduhelm. However, if given FDA approval,

simufilam represents an appealing potential alternative to Aduhelm because simufilam is taken

orally, rather than intravenously like Aduhelm, and is expected to be much cheaper than Aduhelm,

which costs approximately $56,000 per patient per year.

       68.     Cassava is under great pressure to get one or both of its lead product candidates to

market, given that, according to the Company’s most recent Form 10-Q filed with the SEC on

November 7, 2023, Cassava “ha[s] yet to generate any revenues from product sales” and “ha[s] an

accumulated deficit of $359.9 million at September 30, 2023.”

       69.     Immediately prior to the Relevant Period, the Company was finalizing the results

of its simufilam Phase 2b clinical trials as it attempted to advance to Phase 3 of the FDA approval

process. However, the foundational science the Company used to support its claims of simufilam’s

effectiveness was based on a series of papers from two coauthors, Dr. Wang of CUNY and Dr.

Lindsay Burns of Cassava. While the clinical trials the Company conducted purportedly showed

simufilam’s effectiveness, later analyses presented in a Citizen Petition to the FDA would show




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that the data from these trials had been manipulated. According to the Citizen Petition, no other

labs were able to confirm Cassava’s research regarding simufilam.

                 False and Misleading Statements Made During the Relevant Period

           August 18, 2022 Press Release

           70.      On August 18, 2022, the Company issued a press release entitled “No Evidence of

Data Manipulation in Science Publication on Simufilam” (the “August 18, 2022 Press Release”).

The press release stated, in relevant part:


           Cassava [. . .] was recently informed by the Journal of Prevention of
           Alzheimer's Disease (JPAD) that there is no convincing evidence to support
           allegations of data manipulation in a 2020 paper on simufilam co-authored by the
           Company’s personnel and its science collaborators.

                                                         ***

           “From the onset, I have said that allegations of research misconduct are false,
           and for good reason – I see no supporting evidence for the allegations,”
           said Remi Barbier, President & CEO. “I’m hopeful that written pronouncements
           from neutral and independent science experts will help close the chapter of
           baseless attacks against our science. At some point it becomes irrational for our
           detractors to repeat over and over again the same old tired mantra of data
           manipulation.” 1

                                                 ***
           A related investigation by academic authorities at The City University of New
           York (CUNY) is ongoing. Pending a public response from CUNY,
           both Neurobiology of Aging and Journal of Neuroscience previously issued an
           outstanding “expression of concern”, which is a non-standardized type of editorial
           notice used by academic publishers to raise awareness to a possible problem,
           according to the Council of Science Editors (2012).


           71.      The August 18, 2022 press release was false and misleading and failed to disclose

that: (1) the Company failed to maintain adequate and effective data management controls and

procedures for its drug research programs; (2) the Company’s data control failures made the data


1
    Unless otherwise indicated, all emphasis is added.




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that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the

Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.

          November 7, 2022 Press Release

          72.    On November 7, 2022, the Company issued a press release entitled “Cassava

Sciences Reports Third Quarter Financial Results for 2022 and Business Updates” (the “November

7, 2022 Press Release”). The press release contained a quote from Defendant Barbier, in which he

stated:

          The clinical development of oral simufilam for Alzheimer’s disease continues to
          make headway[.] . . . We now have over 650 patients enrolled in our on-going Phase
          3 studies of simufilam in Alzheimer's disease, up from 150 patients approximately
          six months ago. We also look forward to presenting new clinical data for simufilam
          from two other ongoing studies in Alzheimer’s disease.

          73.    The November 7, 2022 Press Release was false and misleading and failed to

disclose that: (1) the Company failed to maintain adequate and effective data management controls

and procedures for its drug research programs; (2) the Company’s data control failures made the

data that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the




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Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.

       January 24, 2023 Press Release

       74.     On January 24, 2023, the Company issued a press release entitled “Cassava

Sciences Announces Positive Top-Line Clinical Results in Phase 2 Study Evaluating Simufilam

in Alzheimer’s Disease.” The press release stated, in relevant part:

       Cassava [. . .] today announced positive top-line Phase 2 results for simufilam, its
       oral drug candidate for Alzheimer’s disease dementia. This was an open-label
       safety study with exploratory efficacy endpoints. The study enrolled over 200
       patients with mild-to-moderate Alzheimer’s disease (MMSE 16-26). Study
       participants were administered open-label simufilam tablets 100mg twice daily for
       1 year or more. Endpoints were measured at baseline (study entry) and month 12.

                                                 ***

       “I’m very excited about these 1-year data,” said [Defendant] Barbier[.] “They add
       strength and determination to our goal of helping people fight Alzheimer’s disease.
       Simufilam is an innovative drug candidate that we are developing methodically,
       one study at a time, and this open-label safety study served its purpose. Next up in
       2023 are top-line clinical results of our Cognition Maintenance Study, which is a
       randomized, controlled trial.”

       75.     The January 24, 2023 Press Release was false and misleading and failed to disclose

that: (1) the Company failed to maintain adequate and effective data management controls and

procedures for its drug research programs; (2) the Company’s data control failures made the data

that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the




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Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.

       February 28, 2023 Press Release

       76.     On February 28, 2023, the Company issued a press release entitled “Cassava

Sciences Reports Full-year 2022 Financial Results and Operating Updates” (the “February 28,

2023 Press Release”). The February 28, 2023 Press Release included a quote from Defendant

Barbier, who stated:

       Setting aside headwinds, 2022 was highlighted by positive developments with
       patient enrollment in our Phase 3 clinical studies of simufilam in Alzheimer’s
       disease[.] . . . Over 1,000 patients with Alzheimer’s are now enrolled in these two
       studies. By year-end 2023, we expect to reach our enrollment target of
       approximately 1,750 patients for the Phase 3 studies. Recently, we announced top-
       line results for an open-label study. In this study, over 200 mild-to-moderate
       Alzheimer’s patients were treated with simufilam for a year. Simufilam was well-
       tolerated, 47% of patients improved on ADAS-Cog scores over 12 months and an
       additional 23% of patients declined less than 5 points on ADAS-Cog. I believe
       these are noteworthy trial results, even as I am keenly aware that the gold standard
       in Alzheimer’s research requires results from randomized, controlled studies.”

       77.     The February 28, 2023 Press Release was false and misleading and failed to

disclose that: (1) the Company failed to maintain adequate and effective data management controls

and procedures for its drug research programs; (2) the Company’s data control failures made the

data that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the

Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.




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          2022 Form 10-K

          78.    Also on February 28, 2023, the Company filed its annual report for the Fiscal Year

2022 on Form 10-K with the SEC (the “2022 10-K”). The 2022 10-K was signed by Defendants

Barbier, Schoen, Barry, Gussin, O’Donnell, Robertson, and Scannon. Attached to the 2022 10-K

were signed certifications pursuant to Sarbanes Oxley Act (“SOX”) by Defendants Barbier and

Schoen attesting to its accuracy, the disclosure of any material changes to the Company’s internal

controls over financial reporting, and the disclosure of any and all fraud.

          79.    Under the heading “Overview,” the 2022 10-K stated the following, in relevant

part:

                   Cassava [. . .] is a clinical-stage biotechnology company based in Austin,
          Texas. Our mission is to detect and treat neurodegenerative diseases, such as
          Alzheimer’s disease. Our novel science is based on stabilizing – but not removing
          – a critical protein in the brain. Our lead therapeutic drug candidate, simufilam, is
          being evaluated for the proposed treatment of Alzheimer’s disease dementia in
          Phase 3 clinical studies.

                  Over the past 10 years, we have combined state-of-the-art technology with
          new insights in neurobiology to develop novel solutions for Alzheimer’s disease
          and other neurodegenerative diseases. Our strategy is to leverage our unique
          scientific/clinical platform to develop a first-in-class program for treating
          neurodegenerative diseases, such as Alzheimer’s.

                                                   ***

                  Our scientific approach for the treatment of Alzheimer’s disease seeks to
          simultaneously suppress both neurodegeneration and neuroinflammation. We
          believe our ability to improve multiple vital functions in the brain represents a new,
          different and crucial approach to address Alzheimer’s disease.

                  Our lead product candidate, simufilam, is a proprietary small molecule
          (oral) drug. Simufilam targets an altered form of a protein called filamin A (FLNA)
          in the Alzheimer’s brain. Published studies have demonstrated that the altered form
          of FLNA causes neuronal dysfunction, neuronal degeneration and
          neuroinflammation. We are currently conducting a Phase 3 program with simufilam
          in patients with mild-to-moderate Alzheimer’s disease dementia.




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               We believe simufilam improves brain health by reverting altered FLNA
       back to its native, healthy conformation, thus countering the downstream toxic
       effects of altered FLNA. We have generated and published experimental and
       clinical evidence of improved brain health with simufilam. Importantly, simufilam
       is not dependent on clearing amyloid from the brain. Since simufilam has a unique
       mechanism of action, we believe its potential therapeutic effects may be additive
       or synergistic with those of other therapeutic candidates aiming to treat
       neurodegeneration.

       80.     Additionally, the 2022 10-K stated the following regarding the Company’s

scientific approach:

            Our scientific approach is to treat neurodegeneration by targeting an altered
       form of a scaffold protein called FLNA. Through years of basic research, we and
       our academic collaborators identified FLNA as a structurally altered protein that
       enables both a neurodegeneration and a neuroinflammation pathway in the
       Alzheimer’s brain. We have shown that the altered form of FLNA is pervasive in
       the Alzheimer’s brain and undetectable in healthy control brains.

           Using scientific insight and lab techniques, we believe we have elucidated this
       protein dysfunction. Through this work, we have produced experimental evidence
       that altered FLNA plays a critical role in Alzheimer’s disease. We engineered a
       family of high-affinity, small molecules to target this structurally altered protein
       and restore its normal shape and function. This family of small molecules, including
       our lead therapeutic candidate, simufilam, was designed in-house and characterized
       by our academic collaborators.

           Our lead therapeutic product candidate, simufilam, is a small molecule (oral)
       drug with a novel mechanism of action. The target of simufilam is altered FLNA,
       the brain protein we seek to stabilize. Importantly, since simufilam has a unique
       mechanism of action, we believe its potential therapeutic effects may be additive
       or synergistic with those of other therapeutic candidates aiming to treat
       neurodegeneration. We are currently conducting a Phase 3 program with simufilam
       in patients with mild-to-moderate Alzheimer’s disease dementia.

           Given the biopharmaceutical industry’s challenging track record in Alzheimer’s
       research, we believe there is an urgent need to consider innovative approaches to
       combat this disease. We believe our scientific approach may broaden the range of
       possible treatment approaches for this complex disease.

       81.     Additionally, the 2022 10-K touted the Company’s development team, stating:

“Our product development team is led by seasoned professionals with a proven track record of

innovation in drug discovery and development, as well as substantial business expertise.”




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       82.       In a section titled “Our Strategy,” the 2022 10-K stated:

           Our goal is to develop product candidates to diagnose and treat
       neurodegeneration, such as Alzheimer’s disease. Key elements of our business
       strategy to achieve this mission include:
           • building a lean company that is narrowly focused on developing innovative
               product candidates for Alzheimer’s disease and other areas of
               neurodegeneration;

             •   validating our unique scientific approach with competitive research grants
                 and publishing our scientific data in peer-reviewed journals;

             •   applying our development capabilities to advance our product candidates
                 through clinical proof-of-concept studies and beyond;

             •   using our expertise and experience to continue to focus on discovering new
                 indications and product candidates, validated by experimental evidence and
                 leading experts in the field; and

             •   continuing to outsource preclinical studies, clinical studies and formulation
                 development activities in order to allow more efficient deployment of our
                 resources

       83.       The 2022 10-K was false and misleading and failed to disclose that: (1) the

Company failed to maintain adequate and effective data management controls and procedures for

its drug research programs; (2) the Company’s data control failures made the data that supported

simufilam’s efficacy susceptible to manipulation and had overstated the effectiveness of the drug;

(3) as a result of manipulated data, the Company had misrepresented to the investing public the

efficacy of its simufilam trials and the clinical and/or commercial prospects of simufilam; (4) the

Company was subjected to heightened risks as a result of the substantial financial and reputational

harm that would result from the foregoing being revealed; (5) the Company failed to maintain

adequate internal controls; and (6) as a result, the Company’s public statements were materially

false and misleading at all times.

       2023 Proxy Statement




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        84.    On March 27, 2023, the Company filed with the SEC its 2023 Proxy Statement.

The 2023 Proxy Statement was solicited by Defendants Barbier, Barry, Gussin, O’Donnell,

Robertson, and Scannon.

        85.    The 2023 Proxy Statement solicited shareholders to, inter alia: (1) re-elect

Defendant Barry and Defendant Gussin to the Board; (2) approve an amendment to the Company’s

amended and restated certificate of incorporation to limit the liability of certain officers of the

Company; (3) approve the Non-employee Director Compensation Program; (4) approve EY as the

Company’s independent registered public accounting firm for the 2023 Fiscal Year; (5) approve,

via non-binding advisory vote, the 2022 executive compensation of named executive officers; and

(6) approve, via non-binding advisory vote, the frequency of non-binding advisory votes on the

executive compensation of the Company’s named executive officers. All six solicitations were

approved by shareholders according to a Form 8-K the Company filed with the SEC on May 8,

2023.

        86.    As a direct result of the materially false and misleading elements in the 2023 Proxy

Statement, the Individual Defendants materially benefited from the passing of the Compensation

Program. The Compensation Program entitled the non-employee Director Individual Defendants

to the following: (1) a $10,000 annual retainer; (2) an initial nonqualified stock option grant for

the right to purchase 20,000 shares of the Company’s common stock; (3) an annual nonqualified

stock option grant at the annual stockholder 2024 and 2025 meetings for the right to purchase

5,000 shares of Company’s common stock; and (4) an additional nonqualified stock option grant

on the data of the Annual Meeting for the right to purchase 2,500 shares of the Company’s common

stock for service on one committee or 5,000 shares of the Company’s common stock for service

on two or more committees. Thus, the 2023 Proxy Statement provided a material benefit to




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Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon, all of whom are entitled to the

payments laid out in the Compensation Program.

       87.     Because of the false and misleading elements of the 2023 Proxy Statement,

Company shareholders approved the Compensation Program. As a result, Defendants Barry,

Gussin, O’Donnell, Robertson, and Scannon received the following compensatory benefits over

the next 36 months: (1) a $10,000 annual retainer; (2) an initial nonqualified stock option grant for

the right to purchase 20,000 shares of the Company’s common stock; (3) an annual nonqualified

stock option grant at the annual stockholder 2024 and 2025 meetings for the right to purchase

5,000 shares of Company’s common stock; and (4) an additional nonqualified stock option grant

on the data of the Annual Meeting for the right to purchase 2,500 shares of the Company’s common

stock for service on one committee or 5,000 shares of the Company’s common stock for service

on two or more committees. As a group, Defendants Barry, Gussin, O’Donnell, Robertson, and

Scannon are collectively entitled to $150,000 and 245,000 in shares and options.

       88.     Regarding risk oversight, the 2023 Proxy Statement stated:

       One of the key functions of the Board of Directors is informed oversight of the
       risk management process. The Board administers this oversight function directly
       through the Board of Directors as a whole, as well as through its standing
       committees that address risks inherent in their respective areas of oversight. Areas
       of focus include economic, operational, financial (accounting, credit, investment,
       liquidity and tax), competitive, legal, regulatory, cybersecurity, privacy,
       compliance and reputational risks, and risk exposures related to COVID-19. The
       risk oversight responsibility of the Board of Directors and its committees is
       supported by the management reporting processes, which are designed to provide
       visibility to the Board of Directors and to the personnel who are responsible for
       risk assessment and information about the identification, assessment and
       management of critical risks, and management’s risk mitigation strategies.

       The Audit Committee is responsible for reviewing and discussing major financial
       risk exposures and the steps management has taken to monitor and control these
       exposures, including guidelines and policies with respect to risk assessment and
       risk management. The Audit Committee also monitors compliance with legal and
       regulatory requirements and assists the Board of Directors in fulfilling its




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       oversight responsibilities with respect to risk management. The Compensation
       Committee assesses and monitors whether any of the compensation policies and
       programs has the potential to encourage excessive risk-taking.

       The Company believes this division of responsibilities is an effective approach
       for addressing the risks the Company faces and that the board leadership
       structure supports this approach.

       89.     The 2023 Proxy Statement was materially misleading because it failed to disclose

that: (1) contrary to the 2023 Proxy Statement’s descriptions of the Board’s risk oversight function

and the Audit Committee’s responsibilities, the Board and its committees were not adequately

exercising these functions, were causing or permitting the Company to issue false and misleading

statements to the investing public, and thus the Individual Defendants on the Board were breaching

their fiduciary duties; and (2) the Individual Defendants on the Board who were breaching their

fiduciary duties were improperly interested in increasing their unjust compensation by seeking

shareholder approval of the Compensation Program, which provided material benefits to

Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon.

       90.     The 2023 Proxy Statement also failed to disclose that: (1) the Company failed to

maintain adequate and effective data management controls and procedures for its drug research

programs; (2) the Company’s data control failures made the data that supported simufilam’s

efficacy susceptible to manipulation and had overstated the effectiveness of the drug; (3) as a result

of manipulated data, the Company had misrepresented to the investing public the efficacy of its

simufilam trials and the clinical and/or commercial prospects of simufilam; (4) the Company was

subjected to heightened risks as a result of the substantial financial and reputational harm that

would result from the foregoing being revealed; (5) the Company failed to maintain adequate

internal controls; and (6) as a result, the Company’s public statements were materially false and

misleading at all times.




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       91.     As a result of the material misstatements and omissions contained in the 2023 Proxy

Statement, Company shareholders reelected Defendants Barry and Gussin to the Board, allowing

them to continue to breach their fiduciary duties to Cassava; ratified EY as the independent auditor,

approved on a nonbinding advisory basis, the 2023 Fiscal Year compensation for Defendants

Barbier and Schoen, and the Compensation Program, thereby providing material benefits to

Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon who were engaged in the

misconduct.

       May 1, 2023, Press Release

       92.     On May 1, 2023, the Company issued a press release entitled “Cassava Sciences

Reports Q1 2023 Financial Results and Operating Updates” (the “May 1, 2023 Press Release”).

The press release quoted Defendant Barbier, who stated the following, in relevant part:

       In Q1 2023, we announced results of a one-year, open-label Phase 2 safety study of
       simufilam in over 200 patients with Alzheimer’s disease[.] . . . The dataset for this
       study shows long-term safety for simufilam. Notably, the data also show
       differences in changes in ADAS-Cog scores in mild and moderate subgroups. We
       believe this is an encouraging result, as it clearly shows an improvement in
       ADAS-Cog over 1 year in mild patients taking simufilam that is well outside the
       expected range of historical placebo decline from numerous other studies.

       93.     The May 1, 2023 Press Release was false and misleading and failed to disclose that:

(1) the Company failed to maintain adequate and effective data management controls and

procedures for its drug research programs; (2) the Company’s data control failures made the data

that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the




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Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.

          July 5, 2023 Press Release

          94.    On July 5, 2023, Cassava issued a press release entitled “Oral Simufilam Slowed

Cognitive Decline in a Randomized Withdrawal Trial of Mild-to-Moderate Alzheimer’s Disease”

(the “July 5, 2023 Press Release”). The July 5, 2023 Press Release quoted Defendant Barbier, who

stated:

          Patients started out taking open-label simufilam for 12 months prior to enrolling in
          the CMS[.] . . . CMS patients on placebo were, in effect, withdrawn from simufilam
          for 6 months. This placebo arm declined while the CMS arm randomized to
          simufilam improved. We believe the emerging separation of cognitive scores
          between these two arms represents a drug effect.

          95.    The July 5, 2023 Press Release was false and misleading and failed to disclose that:

(1) the Company failed to maintain adequate and effective data management controls and

procedures for its drug research programs; (2) the Company’s data control failures made the data

that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the

Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.

          August 3, 2023 Press Release




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       96.     On August 3, 2023, Cassava issued a press release announcing the Company’s Q2

2023 financial results (the “August 3, 2023 Press Release”). The August 3, 2023 Press Release

quoted Defendant Barbier, who stated:

       In July 2023, we announced clinical results of a randomized controlled trial with
       oral simufilam in over 150 patients with Alzheimer’s disease[.] . . . In this study
       simufilam treatment for 6 months slowed cognitive decline by 38% versus placebo
       over six-month in patients with mild-to-moderate Alzheimer’s disease. In
       addition, oral simufilam continues to be safe, well-tolerated. We believe these
       clinical results are noteworthy.

       97.     The August 3, 2023 Press Release was false and misleading and failed to disclose

that: (1) the Company failed to maintain adequate and effective data management controls and

procedures for its drug research programs; (2) the Company’s data control failures made the data

that supported simufilam’s efficacy susceptible to manipulation and had overstated the

effectiveness of the drug; (3) as a result of manipulated data, the Company had misrepresented to

the investing public the efficacy of its simufilam trials and the clinical and/or commercial prospects

of simufilam; (4) the Company was subjected to heightened risks as a result of the substantial

financial and reputational harm that would result from the foregoing being revealed; (5) the

Company failed to maintain adequate internal controls; and (6) as a result, the Company’s public

statements were materially false and misleading at all times.

                                       The Truth Emerges

       98.      On October 12, 2023, Science, a peer-reviewed academic journal, published the

Article. The Article revealed that Dr. Wang’s investigation at CUNY had concluded, stating:

       Cassava Sciences, a biotech company whose work on the experimental Alzheimer’s
       drug simufilam has been heavily criticized and is the subject of ongoing federal
       probes, has suffered another blow. A much-anticipated investigation by the City
       University of New York has accused neuroscientist Hoau-Yan Wang, a CUNY
       faculty member and longtime Cassava collaborator, of scientific misconduct
       involving 20 research papers. Many provided key support for simufilam’s jump




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           from the lab into clinical studies and, given the CUNY report, some scientists are
           now calling for the two ongoing trials to be suspended.

           99.    Further, the Article revealed the investigative committee had found clear examples

of data manipulation, stating:

           The investigative committee found numerous signs that images were improperly
           manipulated, for example in a 2012 paper in The Journal of Neuroscience that
           suggested simufilam can blunt the pathological effects of beta amyloid, a protein
           widely thought to drive Alzheimer’s disease. It also concluded that Lindsay Burns,
           Cassava’s senior vice president for neuroscience and a co-author on several of the
           papers, bears primary or partial responsibility for some of the possible misconduct
           or scientific errors.

           100.   The Article noted that Dr. Wang failed to produce any of his original wrong data,

stating:

           The committee could not prove its suspicions, however, because Wang did not
           produce the original raw data. Instead, the panel says its finding of wrongdoing was
           based on “long-standing and egregious misconduct in data management and record
           keeping by Dr. Wang.”

           The 50-page report obtained by Science says the scientist failed to turn over to the
           panel “even a single datum or notebook in response to any allegation” and cites
           “Wang’s inability or unwillingness to provide primary research materials to this
           investigation” as a “deep source of frustration.”

           101.   The Article also explained why CUNY had launched an investigation into Dr.

Wang, stating:

           The CUNY investigation into Wang began in the fall of 2021, in response to
           allegations from other investigators that were forwarded by the Office of Research
           Integrity (ORI), the federal entity that oversees work funded by the National
           Institutes of Health. NIH provided millions of dollars for work by Wang and Burns,
           including about $1.2 million to Wang since December 2020. The investigation was
           not completed until this year, in May, according to emails obtained by Science. The
           four-member investigative panel of researchers, led by CUNY neuroscientist Orie
           Shafer, encountered delays beyond its failed efforts to obtain raw data from Wang.
           For 6 months, university officials stonewalled the panel’s requests for image files
           confiscated from Wang’s computers, according to the report. The investigators
           received the files only after appealing directly to Vincent Boudreau, president of
           CCNY.




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       102.    The Article quoted a colleague of Dr. Wang, stating:

       CUNY biochemist Kevin Gardner, who helped prepare a preliminary assessment
       of Wang’s work but was not involved in the final review, calls what the panel found
       “embarrassing beyond words.” Wang’s record of research is “abhorrent,” he says.
       That this work has supported clinical trials, Gardner adds, “makes it doubly
       sickening.”


       103.    The Article explained the aftermath of the investigation, stating:

       The CUNY investigators recommended that journals retract the Wang papers
       they had probed if he can’t provide original data. Multiple journals have already
       done so, after Schrag notified them of his findings. The investigators noted
       that PLOS ONE, which retracted five of Wang’s papers, “discovered evidence of
       research misconduct in his response to the concerns raised.” Other journals,
       including The Journal of Neuroscience, posted corrections or expressions of
       concern on Wang papers, with some editors saying they were waiting for CUNY’s
       investigation before taking further steps.

       104.    On this news, the Company’s stock price fell from $17.34 per share at the close of

trading on October 12, 2023 to $14.86 per share at the close of trading on October 13, 2023,

representing a $2.68 decline per share, or 15.28%.

                                  DAMAGES TO CASSAVA

       105.    As a direct and proximate result of the Individual Defendants’ misconduct, Cassava

has lost and will continue to lose and expend many millions of dollars.

       106.    Such losses include compensation paid to Individual Defendants pursuant to the

Compensation Program.

       107.    Such expenditures include, but are not limited to, the fees associated with the

Securities Class Action filed against the Company and the Individual Defendants, and any internal

investigations, and amounts paid to outside lawyers, accountants, and investigators in connection

thereto.

       108.    Additionally, these expenditures include, but are not limited to, unjust




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compensation, benefits, and other payments provided to the Individual Defendants who breached

their fiduciary duties to the Company.

        109.    As a direct and proximate result of the Individual Defendants’ conduct, Cassava

has also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s

discount” that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

enrichment.

                                 DERIVATIVE ALLEGATIONS

        110.    Plaintiffs bring this action derivatively and for the benefit of Cassava to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as directors and/or officers of Cassava, unjust enrichment, abuse of control, gross

mismanagement, waste of corporate assets, violations of the Exchange Act, and the aiding and

abetting thereof.

        111.    Cassava is named solely as a nominal party in this action. This is not a collusive

action to confer jurisdiction on this Court that it would not otherwise have.

        112.    Plaintiffs are, and have been at all relevant times, shareholders of Cassava.

Plaintiffs will adequately and fairly represent the interests of Cassava in enforcing and prosecuting

its rights, and, to that end, have retained competent counsel, experienced in derivative litigation,

to enforce and prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        113.    Plaintiffs incorporate by reference and reallege each and every allegation stated

above as if fully set forth herein.

        114.    A pre-suit demand on the Board of Cassava is futile and, therefore, excused. At the




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time of filing of this action, the Board consists of the following nine individuals: Defendants

Barbier, Barry, Gussin, O’Donnell, Robertson, and Scannon (the “Director-Defendants”), and

nonparties Robert Anderson, Jr., Pierre Gravier, and Claude Nicaise (collectively with the

Director-Defendants, the “Directors”). Plaintiffs need only to allege demand futility as to five of

the nine Directors who are on the Board at the time this action is commenced.

       115.    Demand is excused as to all of the Director-Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the scheme

they engaged in knowingly or recklessly to cause the Company to make and/or cause the Company

to make false and misleading statements and omissions of material facts, which renders them

unable to impartially investigate the charges and decide whether to pursue action against

themselves and the other perpetrators of the scheme.

       116.    In complete abdication of their fiduciary duties, the Director-Defendants either

knowingly or recklessly participated in the foregoing scheme. The fraudulent scheme was intended

to make the Company appear more profitable and attractive to investors during the Relevant

Period. Moreover, the Director-Defendants caused the Company to fail to maintain internal

controls. As a result of the foregoing, the Director-Defendants breached their fiduciary duties, face

a substantial likelihood of liability, are not disinterested, and demand upon them is futile, and thus

excused.

       117.    Additional reasons that demand on Defendant Barbier is futile follow. Defendant

Barbier has served as the Company’s CEO, President, and Chairman of the Board since he founded

the Company in May 1998. Thus, as the Company admits, he is a non-independent director. The

Company provides Defendant Barbier with his principal occupation for which he receives

substantial compensation. As CEO, President, and Chairman of the Board, Defendant Barbier was




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ultimately responsible for all of the false and misleading statements and omissions that were made

during the Relevant Period, including the statements he personally made in numerous press

releases during the Relevant Period and the statements in the 2022 10-K, which he signed both the

document and the attached SOX certifications for. In addition, the 2023 Proxy Statement was

solicited on his behalf, and the false and misleading statements contained therein contributed to

shareholders approving, on an advisory basis, his unjust compensation and caused the re-election

of Defendants Gussin and Barry to the Board, allowing them to continue to breach their fiduciary

duties to the Company. As the Company’s highest officer and as trusted Chairman of the Board,

he conducted little, if any, oversight of the scheme to cause the Company to make false and

misleading statements, consciously disregarded his duties to monitor internal controls over

reporting and engagement in the scheme, and consciously disregarded his duties to protect

corporate assets. Moreover, Defendant Barbier is a defendant in the Securities Class Action. For

these reasons, Defendant Barbier breached his fiduciary duties, faces a substantial likelihood of

liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

excused.

       118.    Additional reasons that demand on Defendant Barry is futile follow. Defendant

Barry has served as a Company director since June 2021. As a member of the Board, Defendant

Barry serves as the Chair of the Audit Committee and of the Nominating and Governance

Committee. Defendant Barry signed, and thus personally made, the false and misleading

statements contained in the 2022 10-K. Moreover, the 2023 Proxy Statement, which contained

false and misleading statements, was solicited on his behalf, and the false and misleading

statements contained therein contributed to his reelection to the Board and shareholders approving

the Compensation Program. Such approvals allowed Defendant Barry to continue to breach his




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fiduciary duties and to reap material benefits as the Compensation Program now entitles Defendant

Barry to (1) a $10,000 annual retainer; (2) an initial nonqualified stock option grant for the right

to purchase 20,000 shares of the Company’s common stock; (3) an annual nonqualified stock

option grant at the annual stockholder 2024 and 2025 meetings for the right to purchase 5,000

shares of Company’s common stock; and (4) an additional nonqualified stock option grant on the

data of the Annual Meeting for the right to purchase 2,500 shares of the Company’s common stock

for service on one committee or 5,000 shares of the Company’s common stock for service on two

or more committees. As a trusted Company director, he conducted little, if any, oversight of the

scheme to cause the Company to make false and misleading statements, consciously disregarded

his duties to monitor internal controls over reporting and engagement in the scheme, and

consciously disregarded his duties to protect corporate assets. For these reasons, Defendant Barry

breached his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon him is futile and, therefore, excused.

       119.    Additional reasons that demand on Defendant Gussin is futile follow. Defendant

Gussin has served as a Company director since March 2003. He also serves as a member of both

the Audit Committee and the Compensation Committee. Defendant Gussin signed, and thus

personally made, the false and misleading statements contained in the 2022 10-K. Moreover, the

2023 Proxy Statement, which contained false and misleading statements, was solicited on his

behalf, and the false and misleading statements contained therein contributed to his reelection to

the Board and shareholders approving the Compensation Program. Such approvals allowed

Defendant Gussin continue to breach his fiduciary duties and to reap material benefits, as the

Compensation Program now entitles Defendant Gussin to (1) a $10,000 annual retainer; (2) an

initial nonqualified stock option grant for the right to purchase 20,000 shares of the Company’s




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common stock; (3) an annual nonqualified stock option grant at the annual stockholder 2024 and

2025 meetings for the right to purchase 5,000 shares of Company’s common stock; and (4) an

additional nonqualified stock option grant on the data of the Annual Meeting for the right to

purchase 2,500 shares of the Company’s common stock for service on one committee or 5,000

shares of the Company’s common stock for service on two or more committees. As a trusted

Company director, he conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded his duties to monitor internal

controls over reporting and engagement in the scheme, and consciously disregarded his duties to

protect corporate assets. For these reasons, Defendant Gussin breached his fiduciary duties, faces

a substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.

       120.    Additional reasons that demand on Defendant O’Donnell is futile follow.

Defendant O’Donnell has served as a Company director since June 1998. Defendant O’Donnell

signed, and thus personally made, the false and misleading statements contained in the 2022 10-

K. Moreover, the 2023 Proxy Statement, which contained false and misleading statements, was

solicited on his behalf, and the false and misleading statements contained therein contributed to

shareholders approving the Compensation Program and caused the re-election of Defendants

Gussin and Barry to the Board, allowing them to continue to breach their fiduciary duties to the

Company. Such approvals allowed Defendant O’Donnell to reap material benefits, as the

Compensation Program now entitles Defendant O’Donnell to (1) a $10,000 annual retainer; (2) an

initial nonqualified stock option grant for the right to purchase 20,000 shares of the Company’s

common stock; (3) an annual nonqualified stock option grant at the annual stockholder 2024 and

2025 meetings for the right to purchase 5,000 shares of Company’s common stock; and (4) an




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additional nonqualified stock option grant on the data of the Annual Meeting for the right to

purchase 2,500 shares of the Company’s common stock for service on one committee or 5,000

shares of the Company’s common stock for service on two or more committees. As a trusted

Company director, he conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded his duties to monitor internal

controls over reporting and engagement in the scheme, and consciously disregarded his duties to

protect corporate assets. For these reasons, Defendant O’Donnell breached his fiduciary duties,

faces a substantial likelihood of liability, is not independent or disinterested, and thus demand upon

him is futile and, therefore, excused.

       121.    Additional reasons that demand on Defendant Robertson is futile follow. Defendant

Robertson has served as a Company director since September 1998. He also serves as a member

on each of the Audit Committee, the Compensation Committee, and Nominating and Governance

Committee. In addition, he serves as Lead Director. Defendant Robertson signed, and thus

personally made, the false and misleading statements contained in the 2022 10-K. Moreover, the

2023 Proxy Statement was solicited on his behalf and the false and misleading statements

contained therein contributed to shareholders approving the Compensation Program and caused

the re-election of Defendants Gussin and Barry to the Board, allowing them to continue to breach

their fiduciary duties to the Company. Such approvals allowed Defendant Robertson to reap

material benefits, as the Compensation Program now entitles Defendant Robertson (1) a $10,000

annual retainer; (2) an initial nonqualified stock option grant for the right to purchase 20,000 shares

of the Company’s common stock; (3) an annual nonqualified stock option grant at the annual

stockholder 2024 and 2025 meetings for the right to purchase 5,000 shares of Company’s common

stock; and (4) an additional nonqualified stock option grant on the data of the Annual Meeting for




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the right to purchase 2,500 shares of the Company’s common stock for service on one committee

or 5,000 shares of the Company’s common stock for service on two or more committees. As a

trusted Company director, he conducted little, if any, oversight of the scheme to cause the

Company to make false and misleading statements, consciously disregarded his duties to monitor

internal controls over reporting and engagement in the scheme, and consciously disregarded his

duties to protect corporate assets. For these reasons, Defendant Robertson breached his fiduciary

duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon him is futile and, therefore, excused.

       122.    Additional reasons that demand on Defendant Scannon is futile follow. Defendant

Scannon has served as a Company director since December 2007. During the Relevant Period, he

served as a member of the Audit Committee. Defendant Scannon signed, and thus personally made,

the false and misleading statements contained in the 2022 10-K. Moreover, the 2023 Proxy

Statement, which contained false and misleading statements, was solicited on his behalf, and the

false and misleading statements contained therein contributed to his reelection to the Board and

shareholders approving the Compensation Program. Such approvals allowed Defendant Scannon

to continue to breach his fiduciary duties and to reap material benefits as the Compensation

Program now entitles Defendant Scannon to (1) a $10,000 annual retainer; (2) an initial

nonqualified stock option grant for the right to purchase 20,000 shares of the Company’s common

stock; (3) an annual nonqualified stock option grant at the annual stockholder 2024 and 2025

meetings for the right to purchase 5,000 shares of Company’s common stock; and (4) an additional

nonqualified stock option grant on the data of the Annual Meeting for the right to purchase 2,500

shares of the Company’s common stock for service on one committee or 5,000 shares of the

Company’s common stock for service on two or more committees. As a trusted Company director,




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he conducted little, if any, oversight of the scheme to cause the Company to make false and

misleading statements, consciously disregarded his duties to monitor internal controls over

reporting and engagement in the scheme, and consciously disregarded his duties to protect

corporate assets. For these reasons, Defendant Scannon breached his fiduciary duties, faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.

       123.    Additional reasons that demand on the Board is futile follow.

       124.    Director-Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon solicited

shareholders in the 2023 Proxy Statement to approve the Compensation Plan, from which they

each materially benefited and continue to benefit. Director-Defendants Barry, Gussin, O’Donnell,

Robertson, and Scannon each were well aware of and had access to non-public information

regarding Cassava’s research and the prevalent issues associated with it. If not for the false and

misleading statements throughout the Relevant Period and for the false and misleading elements

in the 2023 Proxy Statement, Cassava shareholders would not have voted to approve the

Compensation Program and reelect Defendants Barry and Gussin to the Board. Accordingly, the

Individual Defendants materially benefited as a result of the scheme to cause the Company to make

false and misleading statements. Under the Compensation Program, Director-Defendants Barry,

Gussin, O’Donnell, Robertson and Scannon are now entitled to (1) a $10,000 annual retainer; (2)

an initial nonqualified stock option grant for the right to purchase 20,000 shares of the Company’s

common stock; (3) an annual nonqualified stock option grant at the annual stockholder 2024 and

2025 meetings for the right to purchase 5,000 shares of Company’s common stock; and (4) an

additional nonqualified stock option grant on the data of the Annual Meeting for the right to

purchase 2,500 shares of the Company’s common stock for service on one committee or 5,000




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shares of the Company’s common stock for service on two or more committees. As a group,

Director-Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon are collectively entitled

to $150,000 and 245,000 in shares and options. Such awards provide material benefits to Director-

Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon that render them incapable of

evaluating a demand with disinterestedness. Thus, Director-Defendants Barry, Gussin, O’Donnell,

Robertson, and Scannon would be incapable of consider any demand challenging the

Compensation Program or their own involvement in the scheme to cause the Company to issue

materially false and misleading statements and related claims. As a result of the foregoing,

Director-Defendants Barry, Gussin, O’Donnell, Robertson, and Scannon breached their fiduciary

duties, face a substantial likelihood of liability, are not disinterested, and demand upon them is

futile, and thus excused.

       125.    The Director-Defendants have longstanding business and personal relationships

with each other and the Individual Defendants that preclude them from acting independently and

in the best interests of the Company and the shareholders. In addition, Defendants Barbier,

O’Donnell, and Robertson, have worked together at the Company for over two decades since they

all joined in 1998, with Defendant Gussin working with them for almost that long having joined

in 2003. Director-Defendant Scannon has also worked with Director-Defendants Barbier,

O’Donnell, Robertson, and Gussin at the Company for over a decade, with Director-Defendant

Scannon joining in 2007. These conflicts of interest precluded the Director-Defendants from

adequately monitoring the Company’s operations and internal controls and calling into question

the Individual Defendants’ conduct. Thus, demand upon the Director-Defendants would be futile.

       126.    Director-Defendants Barry, Gussin, and Robertson (the “Audit Committee

Defendants”) served as members of the Audit Committee during the Relevant Period. Pursuant to




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the Company’s Audit Committee Charter, the Audit Committee Defendants are responsible for,

inter alia, monitoring the Company’s system of internal controls, reviewing their adequacy on an

ongoing basis, and recommending to the Board remedies to any identified deficiencies. The Audit

Committee Defendants failed to adequately oversee the Company’s internal controls, failed to

identify or remedy deficiencies with the Company’s internal controls, and thus failed prevent the

Company from issuing false and misleading statements to the public and the SEC. Thus, the Audit

Committee Defendants breached their fiduciary duties, are not disinterested, and demand is

excused as to them.

       127.    Defendants Gussin and Robertson (the “Compensation Committee Defendants”)

served as members of the Compensation Committee during the Relevant Period. As stated in the

2023 Proxy Statement, “[t]he Compensation Committee reviews and recommends to the Board of

Directors the salaries, incentive compensation and benefits of the Company’s officers and

administers the Company’s stock plans and employee benefit plans.” The Compensation

Committee Defendants thus reviewed and recommended to the Board the salaries, incentive

compensation and benefits of the Individual Defendants, and awarded them compensation under

the Company’s stock plans. This compensation was unjust in light of the Individual Defendants’—

including the Compensation Committee Defendants’—violations of law. Thus, the Compensation

Committee Defendants breached their fiduciary duties, are not disinterested, and demand is

excused as to them.

       128.    In violation of the Code of Ethics, the Director-Defendants conducted little, if any,

oversight of the Company’s engagement in the Individual Defendants’ scheme to cause the

Company to issue materially false and misleading statements to the public and to facilitate and

disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty, gross




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mismanagement, abuse of control, waste of corporate assets, unjust enrichment, and violations of

the Exchange Act. In further violation of the Code of Ethics, the Director-Defendants failed to act

with honesty and integrity; failed to provide the SEC and public with complete, fair, accurate,

timely, and understandable disclosures; failed to comply with applicable laws and regulations;

failed to act in good faith, responsibly with due care and diligence and without misrepresentation

or omission of material facts; failed to promote ethical behavior at the Company; and failed to

promptly report violations of the Code of Ethics. Thus, the Director-Defendants face a substantial

likelihood of liability and demand is futile as to them.

       129.    Cassava has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Directors have not filed any lawsuits against the

Individual Defendants or others who were responsible for that wrongful conduct to attempt to

recover for Cassava any part of the damages Cassava suffered and will continue to suffer thereby.

Thus, any demand upon the Directors would be futile.

       130.    The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Director-Defendants can claim

exculpation from their violations of duty pursuant to the Company’s charter (to the extent such a

provision exists). As a majority of the Directors face a substantial likelihood of liability, they are

self-interested in the transactions challenged herein and cannot be presumed to be capable of

exercising independent and disinterested judgment about whether to pursue this action on behalf

of the shareholders of the Company. Accordingly, demand is excused as being futile.

       131.    The acts complained of herein constitute violations of fiduciary duties owed by

Cassava’s officers and directors, and these acts are incapable of ratification.




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       132.    The Director-Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds, i.e., monies belonging to the stockholders of Cassava. If there is a directors’ and officers’

liability insurance policy covering the Directors, it may contain provisions that eliminate coverage

for any action brought directly by the Company against the Directors, known as, inter alia, the

“insured-versus-insured exclusion.” As a result, if the Directors were to sue the Director-

Defendants or certain of the officers of Cassava, there would be no directors’ and officers’

insurance protection. Accordingly, the Directors cannot be expected to bring such a suit. On the

other hand, if the suit is brought derivatively, as this action is brought, such insurance coverage, if

such an insurance policy exists, will provide a basis for the Company to effectuate a recovery.

Thus, demand on the Directors is futile and, therefore, excused.

       133.    If there is no directors’ and officers’ liability insurance, then the Directors will not

cause Cassava to sue the Individual Defendants named herein, since, if they did, they would face

a large uninsured individual liability. Accordingly, demand is futile in that event, as well.

       134.    Thus, for all of the reasons set forth above, all of the Directors, and, if not all of

them, at least five of the Directors, cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.

                                           FIRST CLAIM

   Against the Individual Defendants for Violations of Section 14(a) of the Exchange Act

       135.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.




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       136.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       137.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       138.    Under the direction and watch of the Individual Defendants, the 2023 Proxy

Statement failed to disclose, inter alia: (1) contrary to the 2023 Proxy Statement’s descriptions of

the Board’s risk oversight function and the Audit Committee’s responsibilities, the Board and its

committees were not adequately exercising these functions, were causing or permitting the

Company to issue false and misleading statements to the investing public, and thus the Individual

Defendants on the Board were breaching their fiduciary duties; and (2) the Individual Defendants

on the Board who were breaching their fiduciary duties were improperly interested in increasing

their unjust compensation by seeking shareholder approval of Non-employee Director

Compensation Program, which the Individual Defendants serving on the Compensation

Committee were improperly administering by rewarding misconduct.




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       139.    Additionally, the 2023 Proxy Statement further failed to disclose that: (1) the

Company failed to maintain adequate and effective data management controls and procedures for

its drug research programs; (2) the Company’s data control failures made the data that supported

simufilam’s efficacy susceptible to manipulation and had overstated the effectiveness of the drug;

(3) as a result of manipulated data, the Company had misrepresented to the investing public the

efficacy of its simufilam trials and the clinical and/or commercial prospects of simufilam; (4) the

Company was subjected to heightened risks as a result of the substantial financial and reputational

harm that would result from the foregoing being revealed; (5) the Company failed to maintain

adequate internal controls; and (6) as a result, the Company’s public statements were materially

false and misleading at all times.

       140.    In the exercise of reasonable care, the Individual Defendants should have known

that by misrepresenting or failing to disclose the foregoing material facts, the statements contained

in the 2023 Proxy Statement was materially false and misleading. The misrepresentations and

omissions were material to Plaintiffs in voting on the matters set forth for shareholder

determination in the 2023 Proxy Statement, including but not limited to, the reelection of

Defendants Barry and Gussin to the Board; approving the Compensation Program; ratifying EY

as independent auditor the 2023 Fiscal Year; and the approval, on an advisory basis, of Defendants

Barbier’s and Schoen’s compensation.

       141.    The false and misleading elements of the 2023 Proxy Statement led to, among other

things, the reelection of the Defendants Barry and Gussin, which allowed them to continue to

breach their fiduciary duties to the Company. The false and misleading elements of the 2023 Proxy

Statement also led the Company’s shareholders to approve, on an advisory basis, Defendants

Barbier’s, and Schoen’s compensation. In addition, the false and misleading elements of the 2023




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Proxy Statement resulted in the breaching non-employee Directors, namely Defendants Barry,

Gussin, O’Donnell, Robertson, and Scannon, in being compensated by the Company.

       142.    The Company was damaged as a result of the Individual Defendants’ material

misrepresentations and omissions in the 2023 Proxy Statement.

       143.    Plaintiffs, on behalf of Cassava, have no adequate remedy at law.

                                           SECOND CLAIM

              Against the Individual Defendants for Breach of Fiduciary Duties

       144.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       145.    Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of Cassava’s business and affairs.

       146.    Each of the Individual Defendants violated and breached his fiduciary duties of

candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

       147.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of Cassava.

       148.    In breach of their fiduciary duties owed to Cassava, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and/or misleading

statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) the Company

failed to maintain adequate and effective data management controls and procedures for its drug

research programs; (2) the Company’s data control failures made the data that supported

simufilam’s efficacy susceptible to manipulation and had overstated the effectiveness of the drug;




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(3) as a result of manipulated data, the Company had misrepresented to the investing public the

efficacy of its simufilam trials and the clinical and/or commercial prospects of simufilam; (4) the

Company was subjected to heightened risks as a result of the substantial financial and reputational

harm that would result from the foregoing being revealed; (5) the Company failed to maintain

adequate internal controls; and (6) as a result, the Company’s public statements were materially

false and misleading at all times.

       149.    The Individual Defendants further failed to correct and/or caused the Company to

fail to correct the false and misleading statements and omissions of material fact, which renders

them personally liable to the Company for breaching their fiduciary duties.

       150.    Also in breach of their fiduciary duties, the Individual Defendants caused the

Company to fail to maintain internal controls.

       151.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain internal controls. The Individual Defendants had actual knowledge that the Company was

engaging in the fraudulent scheme set forth herein, and that internal controls were not adequately

maintained, or acted with reckless disregard for the truth, in that they caused the Company to

improperly engage in the fraudulent scheme and to fail to maintain adequate internal controls, even

though such facts were available to them. Such improper conduct was committed knowingly or

recklessly and for the purpose and effect of artificially inflating the price of Cassava’s securities.

The Individual Defendants, in good faith, should have taken appropriate action to correct the

scheme alleged herein and to prevent it from continuing to occur.

       152.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.




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       153.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Cassava has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       154.    Plaintiffs on behalf of Cassava have no adequate remedy at law.

                                           THIRD CLAIM

                    Against the Individual Defendants for Unjust Enrichment

       155.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       156.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, Cassava.

       157.    The Individual Defendants either benefitted financially from the improper conduct,

or received bonuses, stock options, or similar compensation from Cassava that was tied to the

performance or artificially inflated valuation of Cassava, or received compensation or other

payments that were unjust in light of the Individual Defendants’ bad faith conduct. This includes

compensation received under the Compensation Program, which certain Individual Defendants

induced the Company’s shareholders to approve through false and misleading representations.

       158.    Plaintiffs, as shareholders and representatives of Cassava, seek restitution from the

Individual Defendants and seek an order from this Court disgorging all profits, including from

insider transactions, payments to the Individual Defendants under the Compensation Program, the

redemption of preferred stock, benefits, and other compensation, including any performance-based

or valuation-based compensation, obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary and contractual duties.

       159.    Plaintiffs on behalf of Cassava have no adequate remedy at law.



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                                           FOURTH CLAIM

                   Against the Individual Defendants for Abuse of Control

       160.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       161.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

ability to control and influence Cassava, for which they are legally responsible.

       162.    As a direct and proximate result of the Individual Defendants’ abuse of control,

Cassava has sustained significant damages. As a result of the misconduct alleged herein, the

Individual Defendants are liable to the Company.

       163.    Plaintiffs on behalf of Cassava have no adequate remedy at law.

                                           FIFTH CLAIM

                Against the Individual Defendants for Gross Mismanagement

       164.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       165.    By their actions alleged herein, the Individual Defendants, either directly or through

aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard

to prudently managing the assets and business of Cassava in a manner consistent with the

operations of a publicly-held corporation.

       166.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, Cassava has sustained and will continue to

sustain significant damages.

       167.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       168.    Plaintiffs on behalf of Cassava have no adequate remedy at law.



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                                           SIXTH CLAIM

              Against the Individual Defendants for Waste of Corporate Assets

       169.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       170.    The Individual Defendants caused the Company to pay the Individual Defendants

excessive salaries and fees, to the detriment of the shareholders and the Company.

       171.    As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused Cassava to waste

valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to defend

unlawful actions, to engage in internal investigations, and to lose financing from investors and

business from future customers who no longer trust the Company and its products.

       172.    As a result of the waste of corporate assets, the Individual Defendants and are each

liable to the Company.

       173.    Plaintiffs on behalf of Cassava have no adequate remedy at law.

                                       SEVENTH CLAIM

                  Against Defendants Barbier and Schoen for Contribution
                    Under Sections 10(b) and 21D of the Exchange Act

       174.    Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       175.    Cassava, Defendant Barbier and Defendant Schoen are named as defendants in the

Securities Class Action, which assert claims under the federal securities laws for violations of

Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated thereunder. If

and when the Company is found liable in the Securities Class Action for these violations of the

federal securities laws, the Company’s liability will be in whole or in part due to Defendants




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Barbier’s and Schoen’s willful and/or reckless violations of their obligations as officers and/or

director of Cassava.

       176.    Defendants Barbier and Schoen, because of their positions of control and authority

as CEO and Chairman, and CFO, respectively, were able to and did, directly and/or indirectly,

exercise control over the business and corporate affairs of Cassava, including the wrongful acts

complained of herein and in the Securities Class Action.

       177.    Accordingly, Defendants Barbier and Schoen are liable under 15 U.S.C. § 78j(b),

which creates a private right of action for contribution, and Section 21D of the Exchange Act, 15

U.S.C. § 78u-4(f), which governs the application of a private right of action for contribution arising

out of violations of the Exchange Act.

       178.    As such, Cassava is entitled to receive all appropriate contribution or

indemnification from Defendants Barbier and Schoen.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiffs demand judgment in the Company’s favor against all

Individual Defendants as follows:

               (a)     Declaring that Plaintiffs may maintain this action on behalf of Cassava, and

that Plaintiffs are adequate representatives of the Company;

               (b)     Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to Cassava;

               (c)     Determining and awarding to Cassava the damages sustained by it as a

result of the violations set forth above from each of the Individual Defendants, jointly and

severally, together with pre-judgment and post-judgment interest thereon;

               (d)     Directing Cassava and the Individual Defendants to take all necessary




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actions to reform and improve Cassava’s corporate governance and internal procedures to comply

with applicable laws and to protect Cassava and its shareholders from a repeat of the damaging

events described herein, including, but not limited to, putting forward for shareholder vote the

following resolutions for amendments to the Company’s Bylaws or Certificate of Incorporation

and the following actions as may be necessary to ensure proper corporate governance policies:

                     1. a proposal to strengthen the Board’s supervision of operations and develop

            and implement procedures for greater shareholder input into the policies and

            guidelines of the board;

                     2. a provision to permit the shareholders of Cassava to nominate at least five

            candidates for election to the Board;

                     3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations;

               (e)      Awarding Cassava restitution from Individual Defendants, and each of

            them;

               (f)      Awarding Plaintiffs the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)      Granting such other and further relief as the Court may deem just and

proper.

                                        JURY DEMAND

Plaintiffs hereby demand a trial by jury.

March 18, 2024

                                              Respectfully Submitted,


                                               THE BROWN LAW FIRM, P.C.




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